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                                         U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                      January 5, 2024

BY ECF

The Honorable Jessica G.L. Clarke
United States District Judge
Southern District of New York
United States Courthouse
500 Pearl Street
New York, NY 10007

           Re:     United States v. Joseph Lewis, et al., S1 23 Cr. 370 (JGLC)

Dear Judge Clarke:

        The Government writes on behalf of the parties concerning the upcoming status conference
in this matter, presently scheduled for January 10, 2024, at 10:00 a.m. The parties understand that
the Court proposes moving this conference to January 25, 2024, at 10:00 a.m., and the parties are
all available at this proposed date and time and consent to the adjournment.

        In addition, the parties agree that the Court should exclude time in the interests of justice
under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) through the date of the
conference, January 25, 2024. Such an exclusion of time would, among other things, allow the
defendants to continue their ongoing review of discovery material and contemplate potential
pretrial motions. A proposed order is attached for the Court’s consideration.

                                              Respectfully submitted,

                                              DAMIAN WILLIAMS
                                              United States Attorney

                                          By: s/ Jason A. Richman
                                             Jason A. Richman / Nicolas Roos
                                             Assistant United States Attorneys
                                             (212) 637-2589/2421


cc:    Defense Counsel (by ECF)
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - -X

UNITED STATES OF AMERICA

             - v. -                                    ORDER

JOSEPH LEWIS, et al.,                             23 Cr. 370 (JGLC)

                Defendants.

- - - - - - - - - - - - - - - - - - -X

             Upon the application of the United States of America, by

and through Assistant United States Attorneys Jason A. Richman and

Nicolas Roos, and with the consent of the defendants through

counsel, it is hereby ORDERED that the time between January 10,

2024 and January 25, 2024, is excluded under the Speedy Trial Act,

18 U.S.C. ' 3161(h)(7)(A), in the interests of justice.            The court

finds that the ends of justice served by granting a continuance

outweigh the best interests of the public and the defendants in a

speedy trial, because it would permit the defendants to continue

their review of discovery material and contemplate potential pre-

trial motions.

Dated:     New York, New York
           January ____, 2024

                                     _________________________________
                                     THE HONORABLE JESSICA G.L. CLARKE
                                     UNITED STATES DISTRICT JUDGE
